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     NSO GROUP TECHS. LTD. and Q CYBER TECHS. LTD.
 7

 8                                UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                      OAKLAND DIVISION
11
     WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
12   and FACEBOOK, INC., a Delaware
     corporation,                                 DEFENDANTS NSO GROUP
13                                                TECHNOLOGIES LIMITED
                   Plaintiffs,                    AND Q CYBER TECHNOLOGIES
14                                                LIMITED’S NOTICE OF PUBLIC
            v.                                    FILING OF EXHIBITS 9, 10, 13, 14, 15, 16,
15                                                17, AND 18 IN SUPPORT OF
     NSO GROUP TECHNOLOGIES LIMITED               DEFENDANTS’ OPPOSITION TO
16   and Q CYBER TECHNOLOGIES LIMITED,            PLAINTIFFS’ MOTION SANCTIONS
                                                  (DKT. 429-4 AND DKT. 429-5)
17                 Defendants.
18

19                                                Action Filed: 10/29/2019
20

21

22

23

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28
      DEFENDANTS’ NOTICE OF PUBLIC                                    Case No. 4:19-cv-07123-PJH
      FILING OF EXHIBITS
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 1                          NOTICE OF PUBLIC FILING OF EXHIBITS
 2          Defendants hereby submit this notice of their public filing, pursuant to the Court’s Order

 3 re Omnibus Motions to Seal dated March 21, 2025 (Dkt. No. 633), of Exhibits 9, 10, 13, 14, 15,

 4 16, 17, and 18 in support of Defendants’ Opposition to Plaintiffs’ Motion for Sanctions (Dkt. 429-

 5 4 and Dkt. 429-5).

 6

 7 DATED: April 4, 2025                              KING & SPALDING LLP
 8

 9                                                   By: /s/ Aaron S. Craig
                                                         JOSEPH N. AKROTIRIANAKIS
10                                                       AARON S. CRAIG
11
                                                          Attorneys for Defendants NSO GROUP
12                                                        TECHNOLOGIES LIMITED and Q
                                                          CYBER TECHNOLOGIES LIMITED
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      DEFENDANTS’ NOTICE OF PUBLIC FILING             1                     Case No. 4:19-cv-07123-PJH
      OF EXHIBITS
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                         Exhibit 9
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                                                                        Page 2

1                    Deposition of SARIT BIZINSKY GIL, held at
2       the offices of:
3
4
5                    DAVIS POLK & WARDWELL LLP
6                    5 ALDERMANBURY SQUARE
7                    LONDON
8                    EC2 7HR
9                    UNITED KINGDOM
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1                                                      Friday, September 6, 2024

2       (8:19 a.m.)

3       THE VIDEOGRAPHER:       Good morning.        We are going on the

4            record.     The time is 08:19 a.m. local time in London,

5            United Kingdom, on today's date, September 6, 2024.                     My

6            name is Philip Hill representing Veritext Legal

7            Solutions.

8                   This video deposition is being held at Davis Polk in

9            London and is being taken by counsel for plaintiff.

10                  Caption for this case is WhatsApp LLC et al versus

11           NSO Group Technologies Limited et al.                  This case is

12           being held in the United States District Court for the

13           northern district of California, Oakland division.                     Case

14           number 4:19-cv-07123-PJH.

15                  The name of today's witness is Sarit Bizinsky.

16                   Please will all counsel on the video Zoom

17           conference link and counsel in the Davis Polk office in

18           London please introduce themselves for the record.

19      MR. MARZORATI:      Luca Marzorati, from Davis Polk & Wardwell.

20           With me in the room is Antonio Perez-Marques and Gersham

21           Johnson.     On the Zoom is Dana Trexler, who is an expert

22           at Stout, and who has -- is authorized to see highly

23           confidential, attorneys' eyes only, information under

24           the protective order.

25      MR. CRAIG:      Aaron Craig, representing the witness and the

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1            defendants in the case.          With me in the room are Joe

2            Akrotirianakis of King & Spalding and Shira Plotnik of

3            NSO Group.

4       THE VIDEOGRAPHER:       Please will the interpreter introduce

5            herself -- both interpreters -- one in the Davis Polk

6            office in London, and the other one on the Zoom link.

7        THE INTERPRETER:       Varda Yaari, for European Depositions.

8        THE INTERPRETER:       Mor Ilan, for European Depositions.

9       THE VIDEOGRAPHER:         Today's court reporter is Chris Lang,

10           representing Veritext Legal Solutions.                 Please will the

11           court reporter firstly swear in both the interpreters

12           and then afterwards please swear in the witness.                      Thank

13           you.

14      THE COURT REPORTER:       Will counsel please stipulate that, in

15           lieu of formally swearing in the witness, the reporter

16           will instead ask the witness to acknowledge that their

17           testimony will be true under the penalties of perjury,

18           that counsel will not object to the admissibility of the

19           transcript based on proceeding in this way, and that the

20           witness has verified that she is in fact Sarit Gil?

21      MR. MARZORATI:     That's okay with us.

22      MR. CRAIG:    Yes, so stipulated.

23      THE COURT REPORTER:       Would the interpreters please

24           acknowledge that they will translate the questions and

25           answers in this deposition to the best of their ability,

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1            under penalty of perjury?

2        THE INTERPRETER:       I do.

3        THE INTERPRETER:       I do.

4       THE COURT REPORTER:       Ms Gil, do you hereby acknowledge that

5            your testimony will be true under the penalties of

6            perjury?

7       A.   I do.

8       THE COURT REPORTER:       Thank you.        Please proceed.

9                                 SARIT BIZINSKY GIL

10      having acknowledged their testimony will be true under the

11      penalties of perjury testified as follows:

12      MR. MARZORATI:     Good morning.

13      A.   Good morning.

14      By Mr. Marzorati:

15      Q.   Would you please state your name for the record?

16      A.   Sarit Bizinsky Gil.

17      Q.   And do you prefer I address you as Ms. Bizinsky, Ms.

18           Gil, Ms. Bizinsky Gil?

19      A.   Whatever.

20      Q.   Okay.    Is Ms. Gil okay?

21      A.   Ms. Gil is okay.

22      Q.   Is this your first deposition?

23      A.   Yes.

24      Q.   Okay.    I am sure your lawyers talked to you about this,

25           but it is a question and answer format, so I will ask

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1       A.   Probably, yes.

2       Q.   Probably yes, or yes?

3       A.   In a normal agreement it should be filled in with the

4            amount in USD and the support service consideration, it

5            should be filled in.

6       Q.   Okay, and in fact in every contract that you have seen

7            signed by defendants or defendants' resellers, these

8            fields are filled in, correct?

9       A.   Yes.

10      MR. MARZORATI:     Okay, let's take a lunch break.

11      MR. CRAIG:    Let's take a lunch break?

12      MR. MARZORATI:     Yes.

13      MR. CRAIG:    Okay.

14      THE VIDEOGRAPHER:       Going off the record.           The time is 13:36.

15           End of media card number 4 volume 1 of the video

16           deposition of Sarit Bizinsky.

17      (1:36 p.m.)

18                                  (break taken.)

19      (2:23 p.m.)

20      THE VIDEOGRAPHER:       This is the beginning of media card

21           number 5, volume 1 in the video deposition of Sarit

22           Bizinsky, going on the record.             The time is 14:24.

23           Thank you.

24      By Mr. Marzorati:

25      Q.   Good afternoon, Ms. Gil.

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                                                                        Page 158

1       A.    Good afternoon.

2       Q.    Welcome back.

3                    Can customers use defendants' Pegasus system without

4             paying for maintenance?

5       MR. CRAIG:       Objection.   Incomplete hypothetical.

6             Foundation.

7       A.    As I explained before, customers who buy under the

8             perpetual deals must pay maintenance in order to

9             continue and get the support of the company, the updates

10            and the upgrades.

11      Q.    So, as part of that maintenance payment, they are

12            entitled to the updates and the upgrades?

13      A.    Yes.

14      Q.    And you understand that defendants' technology needs,

15            occasionally, to be updated and upgraded?

16      MR. CRAIG:       Objection.   Foundation.

17      A.    Err, yes.

18           (Exhibit 2045                       marked for identification)

19      Q.    I want to show you a document marked as exhibit 2045.

20            And we have printed it out in large format.

21                   This is a document, a Microsoft Excel spreadsheet

22            printed out that bears the Bates number, on the produced

23            version, NSO_WhatsApp_00045858.

24                   Ms. Gil, do you recognize this document?

25      A.    Yes.

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1       Q.   What is this document?

2       A.   This document is the Excel spreadsheet that I prepared

3            for this deposition, with the instructions that I got

4            from my lawyers, in order to be able to estimate the

5            revenues that the company did in association with the

6            Android covert vectors.         In the time period of 2018 to

7            2020.

8       Q.   So this document was created for the purposes of this

9            deposition?

10      A.   Yes.

11      Q.   And no similar document exists outside of this document,

12           that's created for this litigation, right?

13      MR. CRAIG:     Objection.    Vague and ambiguous.

14      A.   What do you mean by that?

15      Q.   Sure.

16      A.   Can you clarify?

17      Q.   In the normal course of business, do defendants track

18           revenues attributable to covert iOS, or covert Android?

19           Is that something you do as part of your regular job?

20      MR. CRAIG:     Vague and ambiguous.         Go ahead.

21      A.   In some of the agreements, as you will see later when

22           I explain it, in the CRM originally there was a split of

23           the portion of the covert vectors.             And typically, also,

24           the covert Android.      So, in this respect, this was done

25           at a time when the agreement was signed.

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1       Q.   So, certain numbers in the document existed outside of

2            this document, but this was a document created for the

3            purpose of this deposition, correct?

4       A.   Yes, but all the revenues that we got -- and the

5            starting point of this is the revenues of the company,

6            which are part of the financial, audited financial

7            results that the company had.

8       Q.   When you say "the company", what are you referring to?

9       A.   I am referring to NewCo consolidated reports, and this

10           is where I got all the revenues.

11      Q.   From the consolidated financial reports of NewCo?

12      A.   Yes.

13      Q.   And is that the current name of that company?                It is

14           still known as NewCo?

15      A.   This is the name that I know, yes.

16      Q.   Okay.    What's your involvement in preparing the

17           company's audited financial statements?

18      A.   No involvement.

19      Q.   Okay.    So let's take a look at the spreadsheet.               Column

20           A of this spreadsheet is entitled "account number",

21           correct?

22      A.   Yes.

23      Q.   And what does account number refer to?

24      A.   So each account number is a customer of the company,

25           an anonymized number.

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1                             CERTIFICATE OF COURT REPORTER

2       I, CHRIS LANG, an Accredited Real-time Reporter, hereby

3       certify that the testimony of the witness SARIT GIL in the

4       foregoing transcript, taken on this 6TH day of SEPTEMBER,

5       2024 was recorded by me in machine shorthand and was

6       thereafter transcribed by me; and that the foregoing

7       transcript is a true and accurate verbatim record of the

8       said testimony.

9

10      I further certify that I am not a relative, employee,

11      counsel or financially involved with any of the parties to

12      the within cause, nor am I an employee or relative of any

13      counsel for the parties, nor am I in any way interested in

14      the outcome of the within cause.

15

16                  <%2120,Signature%>

17      Name:        CHRIS LANG

18      Date:        9/6/24

19

20

21

22

23

24

25

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                                                                 Christine B. Choi
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October 7, 2024

VIA EMAIL
Greg D. Andres, Esq.                       Jeffrey A. N. Kopczynski, Esq.
Antonio J. Perez-Marques, Esq.             7 Times Square
Davis Polk and Wardwell LLP                O’Melveny and Myers LLP
450 Lexington Avenue                       Times Square Tower
New York, NY 10017                         New York, NY 10036

Re:    WhatsApp LLC et al. v. NSO Group Technologies Ltd. et al., 4:19-cv-07123-PJH (N.D.
       Cal.) – NSO Production Volume 013

Counsel:

        On behalf of Defendants NSO Group Technologies Ltd. and Q Cyber Technologies Ltd.
(collectively “NSO”), below please find instructions for accessing NSO Production Volume 013.
This production is made in response to Plaintiffs WhatsApp LLC and Meta Platform, Inc.’s
Request for Production of Documents No. 28 and the Court’s Order dated February 23, 2024 and
contains     documents      bearing       Bates    range      NSO_WHATSAPP_00046429          to
NSO_WHATSAPP_00046542 which have been designated as “Highly Confidential – Attorneys’
Eyes Only” under terms of the governing protective order. The documents are available on King
& Spalding’s FTP site. As a reminder, your usernames for the FTP site are below and you should
use the password you created after receiving the email to reset the password. The production is
stored in an encrypted .zip file, the password for which is CZqfqsk2aHUGY4X86wQS. Should
you have any difficulty accessing the materials, please let us know.

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        Name                     Login User Name              Password
        Greg D. Andres           greg.andres@davispolk.com Email sent to user
        Micah G. Block           micah.block@davispolk.com Email sent to user
        Craig T. Cagney          craig.cagney@davispolk.com Email sent to user
        Antonio J. Perez-Marques antonio.perez@davispolk.com Email sent to user
        Luca Marzorati           luca.marzorati@davispolk.com Email sent to user



                                        Very truly yours,

                                        /s/ Christine B. Choi

                                        Christine B. Choi

cc:   fb.nso@davispolk.com
      k&snso@kslaw.com
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